

People v Chapman (2024 NY Slip Op 06471)





People v Chapman


2024 NY Slip Op 06471


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, BANNISTER, NOWAK, AND HANNAH, JJ.


835 KA 23-01277

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCOLE J. CHAPMAN, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






RYAN JAMES MULDOON, AUBURN, FOR DEFENDANT-APPELLANT. 
BRITTANY GROME ANTONACCI, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered June 29, 2023. The judgment convicted defendant, upon his plea of guilty, of robbery in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








